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      Exhibit H
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3/6/2020                                      US DOJ Calls Bitcoin Mixing 'a Crime' in Arrest of Software Developer - CoinDesk


                                                     Story from News

                                                     US DOJ Calls Bitcoin Mixing ‘a
                                                     Crime’ in Arrest of Software
                                                     Developer
                                                     Feb 13, 2020 at 23:45 UTC
                                                     Updated Feb 14, 2020 at 15:46 UTC




                                                     Larry Harmon image via GoFundMe


                                                                      Leigh Cuen




                                                            Larry Harmon was arrested
                                                            earlier this week for allegedly
                                                            participating in a money-
                                                            laundering conspiracy worth
                                                            more than $300 million in
                                                            cryptocurrency involving darknet
                                                            marketplace AlphaBay. However,
                                                            the family of the Coin Ninja CEO
                                                            claims he was never involved with
                                                            AlphaBay.

                                                            Harmon’s case raises pressing questions
                                                            about developer liability in the crypto industry.

                                                            In addition to the crypto media site Coin Ninja,
                                                            Harmon created the bitcoin (BTC) mixer Helix,
                                                            which sends transactions out in mixed
                                                            batches so individual payments are harder to
                                                            trace. In its indictment, Department of Justice
                                                            prosecutors refer to Helix as a “money
                                                            transmitting and money laundering business.”

                                                            “Helix enabled customers, for a fee, to send
                                                            bitcoins to designated recipients in a manner
                                                            which was designed to conceal and obfuscate
                                                            the source or owner of the bitcoins,” the
                                                            indictment continues. “This type of service is
                                                            commonly referred to as a bitcoin ‘mixer’ or
                                                            ‘tumbler.’”

                                                            In a statement Thursday, Justice Department
                                                            Assistant Attorney General Brian Benczkowski
                                                            made the department’s views on bitcoin
                                                            mixers clear. “This indictment underscores

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                                                           that seeking to obscure virtual currency
                                                           transactions in this way is a crime,” he said.

                                                           Harmon’s brother and Coin Ninja coworker,
                                                           Gary Harmon, said Helix did not directly
                                                           partner with AlphaBay and the darknet market
                                                           recommended the mixer without Larry’s
                                                           permission or input. (Helix shut down in 2017;
                                                           AlphaBay was seized by the Federal Bureau of
                                                           Investigation (FBI) in July 2017.)

                                                           Since the arrest, Larry’s wife Margot has
                                                           received threatening phone calls and texts
                                                           from unknown numbers saying the harasser
                                                           knows the location of her home and she is no
                                                           longer safe there, Gary told CoinDesk in an
                                                           interview.

                                                           “Now our family is getting threatened because
                                                           the FBI decided to tell the world that there
                                                           might be money hidden with us somehow,”
                                                           Gary said. “They have no proof of this and are
                                                           now putting our family in danger.”

                                                           Gary said all his brother’s assets have been
                                                           frozen and he was denied bail over flight-risk
                                                           concerns. As such, the family has started a
                                                           GoFundMe campaign for its expenses during
                                                           the trial.

                                                           ”Our address is on it,” Margot Harmon said of
                                                           the indictment. “At the bond hearing they
                                                           alleged that he may have had some more
                                                           bitcoin. So that put us at risk.”

                                                           Gary said the authorities have already
                                                           confiscated all of his brother’s hardware
                                                           wallets and Margot doesn’t have any more
                                                           bitcoin at home.

                                                           The Department of Justice says it worked with
                                                           the Belize National Police Department to
                                                           search Harmon’s timeshare in Belize as well.
                                                           Gary said the police “trashed” both of his
                                                           brother’s homes.




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                                                           Major implications
                                                           Many bitcoin experts are concerned this could
                                                           establish a precedent where simply creating a
                                                           bitcoin mixer is seen, in itself, as a money-
                                                           laundering conspiracy.

                                                           Bitcoin Core contributor Matt Corallo tweeted
                                                           that if this accusation was upheld by the

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                                                           federal court in Washington, D.C., it would be
                                                           “the beginning of the end.”

                                                           Margot said her husband was interested in
                                                           privacy technology, not criminal activity. She
                                                           o ered the example of queer people who may
                                                           want to purchase porn or sex products
                                                           without judgment from conservative family
                                                           members.

                                                           “Larry has always been an advocate for
                                                           privacy. He doesn’t know any bad guys from
                                                           the dark web. He just wanted to help people
                                                           have better privacy,” she told CoinDesk
                                                           Thursday. “It’s a basic right we are guaranteed
                                                           in the Constitution.”

                                                           The courts may decide in this case if the
                                                           Fourth Amendment actually relates to bitcoin
                                                           when it says Americans have the right to be
                                                           “secure in their persons, houses, papers, and
                                                           e ects, against unreasonable searches and
                                                           seizures.” Whether or not this includes a right
                                                           to privacy, generally speaking, is a hotly
                                                           debated issue among legal experts.

                                                           In May, the Dutch Financial Criminal
                                                           Investigative Service seized and shut down
                                                           the popular mixing service Bestmixer.io but
                                                           other companies, such as the privacy-centric
                                                           bitcoin wallet Wasabi, have built-in mixers as
                                                           the backbone of their business strategy. These
                                                           bitcoin wallet startups typically o er non-
                                                           custodial mixers, unlike the custodial mixer
                                                           Helix. The Canadian venture fund Cypherpunk
                                                           Holdings is invested in both Wasabi’s parent
                                                           company and Samourai Wallet, which also
                                                           o ers a mixing service. The public policy
                                                           group Coin Center argued non-custodial
                                                           mixers should not be subject to regulation
                                                           because they o er user-hosted software tools.
                                                           Only time will tell if the court agrees this
                                                           reduces the developer's liability.

                                                           CORRECTION (Feb. 14, 04:00 UTC): This
                                                           article has been updated to clarify the
                                                           difference between bitcoin mixers that custody
                                                           digital assets and ones where users retain
                                                           custody.




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                                                            Larry Harmon



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